Case 4:20-cv-00068-RWS-CMC Document 121-3 Filed 10/13/20 Page 1 of 16 PageID #:
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                               UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

 JUAN LOZADA-LEONI                                   §
                                                     §
                Plaintiff,                           §
                                                     §       Case No. 4:20-cv-00068-RWS-CMC
        v.                                           §
                                                     §
 MONEYGRAM INTERNATIONAL, INC. and                   §
 MONEYGRAM PAYMENT SYSTEMS, INC.                     §
                                                     §
        Defendants.                                  §



                             PLAINTIFF’S DEPOSITION DESIGNATIONS



 TO:    MoneyGram International, Inc. and MoneyGram Payments Systems, Inc., by and through
        attorneys of record, John M. Barcus and Gary D. Eisenstat, Ogletree, Deakins, Nash,
        Smoak & Stewart, P.C, Preston Commons West, 8117 Preston Road, Suite 500, Dallas,
        Texas 75225 and Darby Vincent Doan, Randy Roeser, Haltom & Doan, 6500 Summerhill
        Road, Suite 100 Texarkana, Texas 75503.


        Plaintiff, in compliance with the Third Amended Docket Control Order, timely exchanges

 this Designation of Deposition Testimony. Plaintiff also reserves the right to use portions of the

 deposition testimony designated by Defendant and to provide rebuttal designations and objections

 after the submission of Defendant’s designations.


 Deposition Designations of Craig Bernier
 Page and line

 4, l. 1—7, l. 21
 12, l. 1—15, l. 22
 16, l. 9—17, l. 20
 18, l. 7—12
 19, l. 19—20, l. 3
 21, l. 16—22, l. 9


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 26, l. 18—20
 28, l. 7—29, l. 17
 39, l. 10—40, l. 16
 40, l. 22—43, l. 11
 44, l. 15—47, l. 16
 48, l. 3—52, l. 9
 53, l. 1—6
 53, l. 11—55, l. 2
 57, l. 17—60, l. 17
 67, l. 14—68, l. 11
 69, l. 23—71, l. 15

 Deposition Designations of Manual Goico
 Page and Line

 11/7/2018

 4, l. 1-8
 5, l. 2—7
 5, l. 25-6, l. 4
 6, l. 9-18
 7, l. 10-21
 17, l. 21-25
 18, l. 1-4, 14-25
 19, l, 1-2
 20, l. 1-9
 21, l. 7-21
 24, l. 3-8, l. 16-17
 31, l. 1-11, 21-25
 33, l. 7-19
 42, l. 16-43, l. 23
 46, l. 7—13
 60, l. 21-61, l. 14
 64 l. 17-25
 73, l. 24-25
 75, l. 8—76, l. 3

 Deposition Designations of Tyson Depo
 Page and line

 10/10/2018

 5, l. 1-11
 7, l. 23—8 l. 4
 18, l. 12-21
 20, l. 4-10



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 21, l. 5-14
 23, l. 8-14
 24, l. 8-11, l. 24-25
 25, 1-6
 26, l. 1-8, l. 10-23
 28, l. 3-9, l. 11-25
 29, 6-18, l. 20-25
 30, l. 1-8, l. 16-22
 31, l. 24-25
 32, l. 1-16, l. 24-25
 33, l. 3, l. 16-19
 34, l. 2-20, l. 22-25
 35, l.1-9, l. 12-25
 36, l. 1-11, l. 14-25
 37, l. 1-4, l. 6-19, l. 21-23
 39, l. 13-25
 40, l. 1, l. 3
 53, l. 12-17
 59, l. 11-19
 64, l. 7-21
 65, l. 7-14
 69, l. 5-18, l. 19-25
 70, l. 2, l. 9-25
 72, l. 1-25
 73, l. 1-14
 75, l. 25-78, l. 15
 81, l. 1—9
 82, l. 22-25
 83, l. 1-25
 84, l. 1-25
 89, l. 3-6, 24-25
 90, l. 1-9, 12-16 , l. 21-25
 91, l. 1-4, l. 7-9, l. 11-14
 101, l. 24-25
 102, l. 2-24
 103, l. 1-13
 106, l. 20-25
 107, l. 1-10
 115, l. 18-25
 116, l. 2-8
 125, l. 10-17
 132, l. 9-21
 149, l. 19-23

 Deposition Designation of Lea Pfeifer
 Page and Line



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 6, l. 10-13
 7, l. 7-15
 45, l. 10-25
 46, l. 1-25
 47, l. 1-23
 48, l. 9-20
 52, l. 4-24
 54, l. 1-10,
 55, l. 18-25
 57, l. 7-21, l. 22
 58, l. 1-5
 59, l. 4-25
 64, l. 25
 65, l. 1-11
 69, l. 10-25
 74, l. 21-25
 75, l. 1-25
 76, l. 1.

 Deposition Designations of Sylvia Gil
 Page and Line

 4, l. 2—5, l. 19
 6, l. 13—19
 13, l. 22—14 ,l. 14
 14, l. 22—16, l. 13
 18, l. 7—23
 26, l. 11—19
 45, l. 14—46, l. 25
 53, l. 13—55, l. 4
 55, l. 18—56, l. 11
 56, l. 12—24
 59, l. 23—61, l. 25
 62, l. 19—63, l. 21
 67, l. 15—19
 87, l. 8—24
 101, l. 17—102, l. 4
 117, l. 4—118, l. 24
 126, l. 10—129, l. 2
 129, l. 24—130, l. 4
 131, l. 18—133, l. 5
 147, l. 24—148, l. 15
 159, l. 19—163, l. 8
 163, l. 15—25
 183, l. 2—16


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 Deposition Designations of Fredy Morales
 Page and Line

 5, l. 2—6, l. 2
 6, l. 5—12
 6, l. 24—7, l. 11
 7, l. 17-22
 8, l. 6—18
 11, l. 21—12, l. 12
 13, l. 14—16, l. 13
 16, l. 22—17, l. 3
 17, l. 10—24, l. 3
 24, l. 11—31, l. 15
 32, l. 3—41, l. 19
 42, l. 19-43, l. 2
 43, l. 13—44, l. 14
 45, l. 4—47, l. 9
 51, l. 6—54, l. 15
 55, l. 4—56, l. 1
 56, l. 12—23
 57, l. 9—24
 61, l. 25—62, l. 19
 63, l. 5—64, l. 2
 67, l. 2—16
 69, l. 1—25
 72, l. 9—13
 74, l. 7—10
 75, l. 22—76, l. 7
 77, l. 1—82, l. 24
 83, l. 11—94, l. 15
 96, l. 2—11
 96, l. 19—116, l. 6
 117, l. 7—13
 117, l. 18—123, l. 22
 124, l. 18—126, l. 12
 126, l. 19—21
 129, l. 4—25
 130, l. 10—135, l. 10
 135, l. 18—136, l. 9
 139, l. 2—140, l. 6
 141, l. 20—149, l. 20
 149, l. 25—151, l. 4




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 Deposition Designations of Dana Johnson
 Page and Line

 5, l. 3—6, l. 17
 9, l. 4—23
 10, l. 22—11, l. 18
 12, l. 22—14, l. 11
 16, l. 17—17, l. 12
 19, l. 17—20, l. 18
 20, l. 19—21, l. 6
 22, l. 11—16
 22, l. 24—23, l. 24
 23, l. 25—24, l. 6
 25, l. 3—7
 28, l. 2—29, l. 22
 32, l. 7—16
 33, l. 13—34, l. 3
 38, l. 20—23
 46, l. 7—16
 46, l. 24—47, l. 2
 47, l. 20—48, l. 17
 49, l. 1—23
 50, l. 17—21
 51, l. 3—52, l. 2
 53, l. 10—55, l. 6
 56, l. 2—22
 58, l. 4—16
 60, l. 5—14
 62, l. 13—16
 63, l. 1—24
 65, l. 12—15
 66, l. 2—14
 70, l. 9—72, l. 10
 74, l. 2—75, l. 24
 76, l. 6—8
 77, l. 11—80, l. 8
 83, l. 2—84, l. 15
 85, l. 8—10
 86, l. 2—87, l. 21
 88, l. 22—91, l. 10
 91, l. 16—92, l. 24
 94, l. 16—100, l. 12
 101, l. 7—25
 102, l. 25—103, l. 5


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 105, l. 8—110, l. 9
 114, l. 22—115, l. 22
 120, l. 14—19
 123, l. 2—6
 124, l. 1—6
 124, l. 22—126, l. 24
 127, l. 23—132, l. 8
 133, l. 12—15
 133, l. 22—134, l. 5
 134, l. 17—18
 134, l. 24—135, l. 2
 139, l. 5—13
 140, l. 19—143, l. 2
 146, l. 13—21
 163, l. 16—164, l. 17
 167, l. 3—12
 167, l. 15—168, l. 5
 169, l. 13—170, l. 2
 173, l. 2—18
 174, l. 15—23


 Deposition Designations of Domh Leandro
 Page and Line

 4, l. 2—9
 7, l. 11—13
 9, l. 6—12
 14, l. 3—23
 15, l. 7—10
 25, l. 12—27, l. 10
 27, l. 22—28, l. 5
 59, l. 15—19
 60, l. 3—11
 70, l. 14—71, l. 24
 107, l. 19—109, l. 1
 110, l. 10—17
 150, l. 17—153, l. 2
 163, l. 20—167, l. 2
 243, l. 18—245, l. 6
 248, l. 5—251, l. 7
 256, l. 11—17
 272, l. 1—9
 281, l. 7—14
 295, l. 7—296, l. 3
 328, l. 1—331, l. 25


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 Deposition Designations of Chris Ponder
 Page and Line

 4, l. 6—12
 18, l. 20—19, l. 7 (out of order because it explains he is HR)
 6, l. 20—8, l. 8
 9, l. 20—12, l. 15
 12, l. 18—20
 13, l. 18—14, l. 7
 15, l. 8—16, l. 7
 16, l. 13—17, l. 1
 21, l. 16—22, l. 2
 22, l. 8—11
 25, l. 3—15
 34, l. 20—35, l. 16
 36, l. 10—37, l. 8
 37, l. 24—38, l. 19
 41, l. 23—42, l. 10
 42, l. 11—45, l. 3
 46, l. 9—15
 48, l. 3—49, l. 10
 53, l. 12—55, l. 24
 56, l. 21—57, l. 21
 58, l. 2—15
 59, l. 6—22
 61, l. 9—22
 62, l. 8—63, l. 21
 67, l. 6—17
 71, l. 20—73, l. 17

 Deposition Designations of Juan Manuel Gonzalez
 Page and Line

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 4, l. 2—5, l. 2
 19, l. 20-22
 26, l. 11—27, l. 13
 32, l. 23—33, l. 2
 35, l. 21—37, l. 8
 37, l. 18—38, l. 9
 45, l. 2—46, l. 3
 48, l. 4—7
 48, l. 11—49, l. 10


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 60, l. 24—62, l. 23
 68, l. 9—69, l. 1
 69, l. 23—73, l. 23
 74, l.6—75, l. 3
 75, l. 18—20
 76, l. 7—19
 77, l. 21—79, l. 14
 80, l. 4—17
 86, l. 14—87, l. 14
 87, l. 24—90, l. 17
 91, l. 2—94, l. 14
 94, l. 15—96, l. 21
 96, l. 22—98, l. 9
 105, l. 23—106, l. 19
 107, l. 14
 111, l. 17—112,l. 11
 113, l. 8—114, . 18
 119, l. 4
 120, l. 1—8
 123, l. 16
 126, l.8—15
 127, l. 24—128, l. 1
 138, l. 23—140, l.16
 145, l. 3—12
 147, l. 12
 150, l. 17—151, l. 13
 152, l. 21—155, l. 2
 158, l. 16—159, l. 16
 164, l. 8—10
 164, l. 21—165, l. 7
 166, l. 16—169, l. 4
 169, l. 5—170, l. 2
 172, l. 4—176, l. 5
 177, l. 24—179, l. 1
 181, l. 8—183, l. 3
 184, l. 23—185, l. 9
 186, l. 8—188, l. 9
 190, l. 25—191, l. 3
 192, l. 23—193, l. 3
 194, l. 24—198, l. 23
 199, l. 6—16
 203, l. 11—15
 204, l. 2—205, l. 7
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  218, l. 4--24
  226, l. 21—227, l. 12
  228, l. 21—23
  229, l. 14—24
  230, l. 6—21
  231, l. 13—20
  233, l. 10—14
  236, l. 7—23.
  242, l. 10—25
  253, l. 7—10
  253, l. 21—254, l. 6
  254, l. 23—255, l. 7
  267, l. 14—270, l. 23
  (271, l. 2—6
  273, l. 22—274, l. 2
  275, l. 4—6
  280, l. 25—281, l. 7
  287, l. 3—289, l. 4
  290, l. 3—12
  292, l. 19—22
  294, 2—13
  306, l. 1—4
  327, l. 18—23
  331, l. 8—18

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  63, l. 24—64, l. 19
  66, l. 6—67, l. 5
  84, l. 4—85, l. 7
  89, l. 9—18
  91, l. 4—11
  93, l. 19—94, l. 12
  99, l. 18—100, l. 21
  112, l. 22—113, l. 9
  114, l. 4—9
  116, l. 7—14
  118, l. 1—5
  119, l. 1—2
  119, l. 13—17
  121, l. 13—16
  122, l. 2—10
  124, l. 13—125, l. 1
  127, l. 22—128, l. 3
  130, l. 17—131, l. 4


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  133, l. 5—13
  138, l. 22—139, l. 9
  142, l. 25—143, l. 14
  145, l. 11—23
  147, l. 20—149, l. 4
  149, l. 21—150, l. 1
  150, l. 5—14
  154, l. 10—155, l. 19
  158, l. 13—16
  162, l. 10—20
  167, l. 1—4
  179, l. 17—21
  204, l. 14—25
  205, l. 2—4

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  35, l. 2—8
  135, l. 24—136, l. 8
  138, l. 14—19
  139, l. 6—9

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  7, l. 4-12, l. 18-22
  8, l. 16-23
  9, l. 2—7
  11, l. l. 11-25
  12, l. 1; l. 7-25
  14, l. 12-25
  15, l. 1-25
  16, l. 1-4
  17, l. 4-25
  18, l. 1-3, l. 5-19
  19, l. 11-25
  23, l. 10-12
  26, l. 1-25
  27, l. 1-18
  28, l. 14--25
  29, l. 1-5, l. 7-12, l. 14-19 , l. 21-25
  30, l. 1-8, l. 10-21, l. 23-25
  31, l. 1
  32, l. 19-23, l. 25
  33, l. 1-9, l. 11-13


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  35, l. 20—23
  36, l. 21-25
  37, l. 1-25
  38, l. 1, l. 3-17
  39, l. 23-25
  40, l. 5-22
  41, l. 21-25
  42, l. 1-3
  45, l. 9-25
  46, l. 1-2; 18-24
  47, l. 1-10, l. 12-25
  48, l. 1-3
  49, l. 11-25
  50, l. 1-8
  52, l. 4-25
  53, l. 1-4, l. 6-14, l. 16-24
  54, l. 1-20, l. 22-25
  55, l. 1-2, l. 4-8, l. 10-14, l. 16-25
  56, l. 1-2, l. 4-14, l. 16-22, l. 24-25
  57, l. 1-25
  58, l. 1-2
  62, l. 3—19
  63, l. 9-12; l. 25
  64, l. 1-7
  65, l. 3-14
  66, l. 4-6, l. 8-18, l. 20-24
  67, l. 1-4; l. 11-21, l. 23-25
  68, l. 1-7, l. 9-25
  69, l. 1-23
  71, l. 1-3, l. 9-17
  72, l. 15-17, l. 19-25
  73, l. 1-4, l. 6-20
  74, l. 20-23
  75, l. 5-25
  76, l. 2-5, l. 7-10, l. 12-14
  77, l. 21-24
  82, l. 15-24
  83, l. 1-4, l. 6-23, l. 25
  84, l. 1
  89, l. 3-10
  90, l. 25
  91, l. 1-18
  92, l. 9-20
  93, l. 3-10
  94, l. 1-11
  95, l. 15-25



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  97, l. 1-8
  99, l. 4-20; l. 25
  100, l. 1-10
  108, l. 21-25
  109, l. 1-13
  110, l. 7-23
  111, l. 5-16
  114, l. 19-25
  115, l. 1-11
  118, l. 1-19
  125, l. 8-11
  126, l. 22
  127, l. 1-17
  128, l. 23-25
  129, l. 2-25
  130, l. 1-16
  131, l. 4-14; 24-25
  132, l. 1-25
  133, l. 1-7; 15-25
  134, l. 1-25


  136, l. 15-25
  137, l. 1-25
  138, l. 1—6
  139, l. 2—11
  145, l. 5—16
  154, l. 9—14
  158, l. 5—25
  159, l. 1-14
  160, l. 2-19
  163, l. 25
  164, l. 1—25
  165, l. 1-4
  169, l. 15—25
  170, l. 1—13
  171, l. 14—25
  172, l. 1—25
  173, l. 1-8
  175, l. 5
  176, l. 1-25
  177, l. 1—25
  178, l. 1-21
  181, l. 4—10; 16—21
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  184, l. 1—15
  188, l. 8—15
  190, l. 21-25
  191, l. 1; 20—25
  192, l. 1—11
  194, l. 15-25
  195, l. 1-13; l. 24—25
  196, l. 1-10
  197, l. 1-25
  198, l. 1-8; l. 16—25
  199, l. 1-23
  204, l. 5--25
  205, l. 1-25
  206, l. 1-25
  207, l. 1-25
  208, l. 1-25
  209, l. 1-25
  210, l. 1-25
  211, l. 1—11
  212, l. 11—15
  214 l. 22—25
  215, l. 1-25
  216, l. 1-25
  217, l. 1-25
  218, l. 1-6, l. 13—25
  219, l. 1-25
  220, l. 1-11; l. 19—24
  222, l. 17—25
  223, l. 1-16
  228, l. 7—18
  230, l. 2-25
  231, l. 1-25
  232, l. 1-25
  233, l. 1-11
  235, l. 17—25
  236, l. 1—2
  239, l. 16—25
  240, l. 1—14
  243, l. 23—25
  244, l. 1-25
  245, l. 1-11
  249, l. 24—25
  250, l. 1-5
  262, l. 12-23
  264, l. 5-8



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  266, l. 9—25
  267, l. 25
  268, l. 1-25
  269, l. 1-25
  270, l. 1-7
  273, l 6—10
  275, l. 11—24
  276, l. 15—25
  277, l. 1-16
  279, l. 5—25
  280, l. 1-25
  281, l. 1-3, l. 8-23
  282, l. 21—25
  283, l. 1-25
  284, l. 1—18
  285, l. 4-25
  286, l. 2; 10—25
  287, l. 1—16
  289, l. 1-18



                                     Respectfully submitted.
                                     S/SUSAN E. HUTCHISON
                                     SUSAN E. HUTCHISON
                                     Texas Bar No. 10354100
                                     sehservice@hsjustice.com

                                     HUTCHISON & STOY, PLLC
                                     505 Pecan Street, Suite 101
                                     Fort Worth, Texas 76102
                                     T: (817) 820-0100
                                     F: (817) 820-0111
                                     S. RAFE FOREMAN
                                     Texas Bar No. 07255200
                                     srforeman@hsjustice.com

                                     HUTCHISON & STOY, PLLC
                                     1312 Texas Ave., #101
                                     Lubbock, TX 79401
                                     T: (806) 491-4911

                                     ATTORNEYS FOR PLAINTIFF




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                                 CERTIFICATE      OF   SERVICE

         This is to certify that on September 15, 2020, a true and correct copy of the above and
  foregoing document was served on the following attorneys of record by email transmission to the
  addresses indicated below:

  John M. Barcus, Gary D. Eisenstat
  Ogletree, Deakins
  john.barcus@ogletree.com
  rroeser@haltomdoan.com

  J. Randall Roeser, Darby V. Doan
  Haltom & Doan
  rroeser@haltomdoan.com
  ddoan@haltomdoan.com


                                             SUSAN E. HUTCHISON
                                             SUSAN E. HUTCHISON




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